Case 4:19-cv-00524-MW-MAF Document 39 Filed 06/04/20 Page 1 of 13
PROVIDED TO TOMOKA

om,

UNLTED STATES DISTRICT cournr

NORTHERN prsTeIcT OF FLORIDA PAR lo - } oO
TALLAHASSEE prvtsion oh ON ae ae x .
ERIC K, BROOKS, FORM AILING gy 0ACA

PoinhiFF,
Case Nos: HAtcv 0O5A4~MW/MAF

VS.

OFFICER DAMON MILLER
Defendant: /

 

MOTION FoR. A TEMPORARY RESTRAINING ORDER
AND INJUNCTIVE RECLTEF

COMES Now THE PLAINTIFF, Eric Ky Brooks, prv s2) pursuant to Rules 65
. (aXb),and(d) Fed, R. Civ. p jand moves this cour for a femporwey eestrainin order
an roliminar imunchive relie® for such He as Ls necess@qr resolve +h issues
of Defendant Millers failure Te produce the documents styled Bates #4 4-50; and/or
{0 enjoin various other pargsas om loyer by Florida, DepartmentoF Corrections and working
ot “Temok CorrecHiona| Tastituhion, $450 Tiger Bow ad Dowtona, Beach ) SAAN, ftom
hinderin Plointitys access to courts b oberac ny © lowtul discovery oocumenty listed
above, ~Plawt FF Files this Motion ingood Faith} Ais not intended ty deley justito orto harrass,
PlaintFF has included a Memorandum oF Low Supporting this Motion ; os proposed Tempore
Restraining Order, a Declaretion in Supper! thereat and Append ix A> Inmoty Grievances yee ni
Yhe, exhoushion ulrement oF the Prison Litigation Reform Ac¥ bes bean vnetand to que this@ourt
MITS AVUHE: OF ,
Pursuant to 28 US.C.$41746 T declare thot +he fereqoin Motion and all listed
documents , pleading sand exhibits are tle and correct, under pens! Wet p enury

Respect fu lly subsartted )

Eric K. Broo Spplain j

CERTIPILATE OF WORD CouNT COMPLIANCE, the M 1 Jnday 4700
fursuont a Local Rule 7.4,theMation above contains 182 words, he Memorandum cantons 419
words vend ‘both the Pro osed Order and Declaration contain less than 500 words each,

: a> LO
Eric K, Broo Rs) plain ‘7

(CERTIRICATE OF SERVICE.

IT HEREBY CERTIFY that TL heve provi deol a copy oF this Motion for ov lem ore
Restraining Order and oll ecsttachments to Defendants counse| Hénhah D. Monroe } 200 S. Adams St
Box A-5, “lallehassee, FL 3230L by Farnishing it to prison mail officials for prepeid Lingt-clas

 

 
  

 

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ts mail on thisL™ dew oF June, 2020,

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Erie K, Broo plaint

#582154 Tetho ken cr

34950 Tieer Bay Read

DaxyTona Beach! Florida 3a#a4-1098

 
Case 4:19-cv-00524-MW-MAF Document 39 Filed 06/04/20 Page 2 of 13

UNITED STATES DrstRZeT courRT
NORTHERN DISLRICT OF FUORZDA
TALLAHASSEE DEVISTON

ERKE K, BROOKS,
PlaindiFF

v3. Case No: 4:14 ev05A4 -MW/MAF

OFFICER DAMON MILLER 5
Defendant. /

 

MEMORANDUM OF LAW IN SUPPORT OF PLALNTIFFS
MOTION FOR A TEMPORARY RESTRAINING ORDER.

AND PRELIMINARY INJUNCTION

Statement of the Case

This is ew civil rights achan brought under 42 U.3,¢, $4983 be a stote
dial aed aah ora he cae ede
ow ye ag, mame 18 com p eft discovery and has hee
prevented From reviewing eritical discove documents by TCX. mailroom shuFF who
seized and feturned the documents to Jedendaold counsel, in vielection oF Flortolos |
Administrative. Code Ch.33-210,102 Legal Moil. PlainkiFl seeks a temporary

restraining order and preliminar injunctive relief + ‘
| a 9 ensure, thet he will ,
to review +he documents before, £4 9 his opposition to Summer judgment she

Statement of Facts

As state ih the declaraton submitted with this motion, plointiPrs discovery

“ecaneni were returned by TCL maalroom Ste » Dec. 2,3. The stated reason
wes C aetna (6Xb)(2) which prohibits inmates receiving non- paper
itoms them leq mail, Dec. 4. Pian FF unsuccessfully soughT administrative
reljek throueh the inm« arievance sustem, Dee. 5.6. Plainti tH

3 ' iev ; cannoT mel
prepare ante fective “preston to summary Judgment without reviewing these
AL,

documents, Dec 7 rhemgh 14,

 
Case 4:19-cv-00524-MW-MAF Document 39 Filed 06/04/20 Page 3 of 13

ARGUMENT

POINT ZT: Th ‘
FOINT 1: THE PLAINTIFF LS ENTITLED TOA TEMPORARY RESTRAINING
ORDER AND A PRELTMINARY INJUNCTION,

Ln determins "ether & party is entitled t a temporary restralnine order
ore relieinary injunc fon) courts generally consider several-tactors: whether WS an
will suffer irreparable mary the balance oF hardships” between the artes vy
likelihood oF success on the merits, and the public interest: Each of eek bes,
favo rs the, rant of this motion. Q 238 Tacnns

A. The Plaintiff is Threatened with Irreparable Harm.
!

The plainkFf alleges that the return of his lawful discovery documents creates
an insur mountable obstacleto his ability to properly oppose Summary jad ment b
preventing him From reviewing critical discovery documents, Such an Se Isa |
violotton of plaintiFfs rte unhindered access to the courts as protected by the
First Amendment. Regula ons and practices Hhet uniust Fiably obstruct, other

*

aspects of the ner of access to the courts are invalids ” Pro cunier vs, Martinez
416 U.5, 296, 419, 94 S.Ct. 1800 (1974) (emphasis added),

As wo matter oF law j the continuing deprivation of constitutional rh hts
constitutes irreporal le harm. Elrod vs, Burns, 427 U.S. 347) 373) a6 s.ct.
2673 ( 1976). Plain h¥F here is harmed by aw rmiseppltcati on of FAC Ch.33-210, 103
(6)(b)(4), banning the recei pr of noh- Peper ims in inmate lecal moal, See Section B
below. The documents are atranslatten of Defendant Miller’ Jesh, cam video into a,
"readily usable Form” (ie, digit zed dota les on Ldisas labelled Bates# 49-50 which
can be viewed and heard on any computer with a CD drive, monrterand sound card, suchas
those in the TCL inmoite. lew) library),

The pivotal importance of the discs fs readily ap orent they have been entered
into the record as Defendants ExhibitC in Support Wi Molton for Summary
\ ude ment and are referred +o in 3 different places therein, (ECF No, L7, plies

4-5; p 4 lines o-44: pd) |}ne.20,) Defendontasserk thot the video “aHerly discredits

+he, allegations medley by He, plaintiFF, “(abi d, / ps), Defendant has made numerous

representation 8 to the courT about the contents of the video ) including the allegation
Haat it will “only hurt plaintiffs case,” ea Md.)

 

a
Case 4:19-cv-00524-MW-MAF Document 39 Filed 06/04/20 Page 4 of 13

Defendant cites the purported contents of the video to assert that the court should
deny plaintiffs Mehion to Compal and For Enlargement of Discovery (ECF No.4) jn his
Response (ECF No, 26 ) , plain hepa Motion necessitated h Defendantt rofusal
to complete service of the vel documents Defendant claims aby iaty the
need for Plain}iff to view. (ECF Noa, 9.3),

P laantve calnmnoy completely ond effectively rebut these arguments
absent an opportunity to Fully eview the video u on which Nefendantre] jes
so heavily, Plainh¥¥ hac only two weeks remaining unhl the fore shortened

ead! ne For opposing Summary) judament; thus, the mpend in injury done bu
Shhh pelle f vate be nese locum eyls 13 bol rept | | |

 

@ and imminent

B. The Ba once of Hardships Favors the Plaintiff

The plaintiff asserts thet this irre arable harm Far outweig hs any
hotAship to Defendant, who is only asked to do what he should have done by the
rules of di scovery namely ) remail the Adisce to com plete service OF his First
Production oF Cocuments, As for the FDIC staFF wha have obstructed Piainti¥s
review their hardshy p Is de minitis and arises from their failure to Fo (low their
Own rules, specifs cally FAC Ch.33-210, 102 Legal Mail. PlaintiFF clear ly
explained this inhis Ap peal +o the Seeretary EOC, ta no avail, See Append x Ay

The discs are documents as defined in Ruled (“)(L\(A), RAR, Civ. P.
They have been translated by Defendant into a “reasonably usable form,’ Thid.
They were produced by Defendant in compliance with Rule 34 )aNeyi), Fed,

R.civ B Pleint FF never sought fe person ally possess thom ; they would be useless
Lo him without a computer and monitor, Appendix A Appeal. Ho asked only thet
they be secured and stored in the law lib rary anh suitable arrangements coulol
Le made for him to Fully review their contents, Lbid,
While the general banon receiving non Peper items in heal mail mney have

SOME legitimate pene leaicou| purpose, TCL mailroom fanored the overarching

mandate af FAT Ch.33-210,102 (A) s"All inmetes shall have ri ht F unhindered
access to courts, No provision of this rule shall be applied v7 such a wes AS to
conflict with any rule of court... Lrmetes shall beqiven om loHme in which

ta prepare potions and other docs ments,
3
Case 4:19-cv-00524-MW-MAF Document 39 Filed 06/04/20 Page 5 of 13

There can be no dowgt that misapplyin the ban on non- paper frems
“unjushFiably obstructs "e lainti ffs rig tdo unhindered access to courts ) per
Procunier and contrary to FAC; thet this mise ppli cotion cont licts with He,
Fed, Rules o¥ Civ, P. cited above: and thet the resulting denial of the dises has
severely curtos lea theme left for ploinh ff to oppose Sumynary J ude ment,
through no Fault oF his own, Therefore, whotever hatdship this pros pective
injunctive, relief presents +o Fooc staff cannot be judged more, important
Hhon plainti Fs eonstituh onedly- protected right To unhinder GLOSS be the courts,

C.The Plaintiff is Likely toe Succeed on te Mertts

the plaintiff has ov great (iheli hood oF success on the merits ‘€ allowed
to complete the discovery to which he is entitled by Fed. R-Civ.P. Plaintiff has
prev faasly retuteol Defendants pretextual story tn laintiFRs Second Declaration
and | cinted oul From the reco rd folsiFied entries of Defendants Exhibit A ;
the Probable Cause Affidavit. See Plain FFs Objections to Defendants Maton to
Staw Discovery. Without Defendant's pretextual probable conse For stopping
PlainHFF, his claims te aualitied immunity and his defense fail te pass sortiny,
Clad mHFE Knows that the dash- cam video at the center of this diz pute will
support his sworn testimony that he wos not driving at any point, de spite
Defendants continu na insistence: thet this court hear on} y his repres entadions
as te what the video contains. Moreover, Fundamentw| reauirementl o F justice
demand, that Plainh¥F be allowed to review this evidencds which both parties

have asserted will prove their respech ve pleadings.

D-the Relief Sought Will Serve the PublioLnberest.

In this case the grunt of relief will serve the public interest becouse TE
is allways in the public interest for prison FF cialy To obey the lau, espe cjally the
Constitution; likewise law enforcement oF Fi cers, ineluding DeFendont Miller, PlatafifF
has demonstrated the} Fooo of Fics aks Failed ta heeot raw ch ee 210, 0a (t) b

Is ing other portions of thet rule when seizing and rez rnin ‘lain if
re cber doouments These ach obstra cted Haine coi may
protected ciqhtcto unhindered access tothe courts ; Plaintiff acks tis court to

enjoin them trom on Further such obstruction and peme du this inf uy Paint
has saxisfied, the PL requirements loy exhausting his odmimstrative remedieg
4
Case 4:19-cv-00524-MW-MAF Document 39 Filed 06/04/20 Page 6 of 13

POINT tL: THE PLAINTIFF sHouLe NoT BE REQUIRED To PoST SECURITY:

Usually a IHAg ant who obtains interim injanctive relier 1S asked to
poet security, Rule 65(c) Fed. R. Civ. P. However, the plaintifF is an indigent
prisoner and is unableto post security: Further, the Rule is meant to protec!
the costs to someone wron Fully restrained: a this case the Fboc ctafFale
Clearly in error and, cosh are minimal, The court has discrehian to excuyve an
impoveri shed [iRgant From pasTing security, In Universi ty Books and Vid 295
tc. vs, Metrepalitan Dade County 32, F. Supp: 2d 13644374, (SD, Fla. 199%)
the court held that requirin bond 1S dis serena and nas eee waived: | |
1) ashen the party seek ng Hater jon has ahig prob ility of succee non
she merits of iks claim +77 (3) when demand ing a Dond trom the, party seeking &
j njanction would injure the constitutional riahts of the per 1 Plain fF sneett
hese emterta and should not be penalized fur ertor FD OC o ‘cials mo lFeas ane,

CONCLUSION

Becausy Defendant has not responded to any oF PlaintifFe oo0d—fai th
effort to resolve discovery issues and has clearly ex essed his oppositi onto any
deloy In INigation (ECF 26, pe) [nes 1-5), Plain eF has not wasted time seekin .
lais ostHon on this Motion. The Foresho cfened deod ne) to file Flea nTFHFF Opposition
ta non Judament leaves no Hime remainin for such ey: PlomhF has
served, this Memorandum Motion Proposed Order and Declares lon on Defendant; EME
should please this court to schedule oe hearing For injanetive relief, Defendant wil]
hawe ample dime, to present his position,

WHEREFORE, oll premises eonsidered , the PloimhiFF moves this court to rant
his MobHon for a Tein porary Restrainin Order, adept the propased Order in its enhrety,

" 4 batt Furiner oes ; inth il in
1. Tomoko CL mailroom shit} from Further obstruchtn Plaint FFs | al mal)
oT falar the 2 diss labelled. Butesa#49-50; direer Defendant ta i tbe diss
ene Plain direct Warden D. Duncan te have the discs seeurely sto wi ‘ ad
bank o visor and make surteble. arrangomenty for Plaint Ff to Fully review the AIScS

library s Me whderer other in| unchve celief Hits courl

within 48 hours of their rokurn, and pre
Aeems necessaty, Kospeet Fully submitted | Juned 2020

Eric K. Bree ks piainh TF

§
Case 4:19-cv-00524-MW-MAF Document 39 Filed 06/04/20 Page 7 of 13

A PPENDIx A

ca TrForma] Grievance, SFE LE2e2004/-0 SIT
7K Formal Grievan ce Lt £004-2bR-PAT

yw A ppeal to Secretary DOCH 206-/6 77/

 
Case 4:19-cv-00524-MW-MAF Document 39 Filed 06/04/20 Page 8 of 13

 

 

 

 

 

 

STATE OF FLORIDA
o DEPARTMENT OF CORRECTIONS Mail Number:
a “NMA E REQUEST 4 lz Team Number.
+ 2X Costly Wor, om \ Institution: _.
TO: Warden [] Classification (] Medical C0 Dental
(Check One) br Asst. Warden L] Security ‘LC Mental Health ([[] Other |
: FROM: | Hmate Name DC Number Quarters we Date ,
, [ie | Wy,
Lhic. k» Bhoolks SALE] ADDS M/Z Wei feo

 

 

 

REQUEST Check here if this is an informal grievance wa

(On ve Af a0a0t went to the. Boon Ffeow station tp receive my leaal ocuments provided
by d n Hannah b,Monroe in My case Beooks vy Miller 4; Liev Sadr MAF. From Cassandra,

[Adams TCL mailtoom. Me-Adems re pved Bisex oF an uvkwown 6 i al median , Bed aS T and #50, Fron

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hat can review them inat raely manvey ina secure loco iow crammed iacel ce las prpely zara se

hese dises vil fem Hh bs for'an al leqution of ne iustico/ahs lon of sto thece
j wlosat tRe/ Fla. Constitution.

All re E Ang Ways: i) Written Information or 2) Personal Interview. All
_informal grievances will be responded to in writing.

Inmate (Signature): Laer LD »__ | DC#: S$ ¥. LS] RECEIVED—__
DO NOT WRITE BELOW THIS LINE

232- | APR 22 2020 —
~ COON — ~ OBS DATE RECEIVED: __,egt. wARDEN PROGRAMS

 
  

 

 

 

 

 
 
   

 

 

 

 

 

 

 

 

   
   

(The following pertains to informal grievances
Based on the above information, your grievance is

+ (Returned, Denied, or-Approved). If your informal grievance is denied,
you have the right to submit a

in accordance with Chapter 33-103.006, F.

Official (Print Name Official ; Date: “1/ 23
Original: Inmate (plus one copy)

CC: Retained by official responding or if the response is to an informal grievance then forward to be placed in inmate’s file
This form is also used to file informal grievances in accordance with Rule 33-103 .005, Florida Administrative Code.

Informal Grievances and Inmate Requests will be responded to within 15 days, following receipt by staff.

You may obtain further administrative review of your complaint by obtaining form DC1-303, Request for Administrative Remedy or Appeal, completing the form as
required by Rule 33-103.006, F.A.C; » attaching a copy of your informal grievance and response, and forwarding your complaint to the warden or assistant warden no later
than 15 days after the grievance is responded to. If the 15th day falls on a weekend or holi

iday, the due date shall be the next regular work day.
DC6-236 (Effective 11/18)

Incorporated by Reference in Rule 33-103.005, F.A.C.
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df 4 d FLORIDA DEPARTMENT OF CORRECTIONS OF nN HadLroo YV)

REQUEST FOR ADMINISTRATIVE REMEDY OR APPEAL

ZOOY-Lee- 22:
_] Third Party Grievance Alleging Sexual Abuse “

TO: caf Warden (-] Assistant Warden [-] Secretary, Florida Department of Corrections
From or IF Alleging Sexual Abuse, on the behalf of: . _—
Brooks Eric KK, SBAASL lomoka CL

Last First Middle Initial DC Number Institution

 

 

Part A— Inmate Grievance

 

This isaformal grievance oF informal grievance, # 28° 2004-0384 copy attached, Mr. Adams’ reply Fails foaddres

the issue oF thea gtievance, which is tat she seized my 2 dices without popee gin This seizure pels
issue. Sh. has admitted all tha Facts alleged therein, I will nawaddress

Mail rale ho jets fy her wronafi seizure. Leaal mal lisgoverned bya separate section of Sel ther uceof 33- | 33-
Alo ise pretext for her egal act, which she compounds by her next wands" therofor your CD was returned

por your request "IF Adaris truly believed: wy iNcems M dizesfubich sha cannot know ty be"cD#unless she ill
reviewed thoi cantends before returning them were contraband, sho should have npn thn ads

rHonasing the applicable tile Searchesof nme and Gr fred and Cogtro trol. She fo. iled to ds go, Her shal decsion
h rehurn Jedi withoaY allowing meachanee ty. view their contents creshes a rate issue which Lhavtag ieved
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teview.” This iS non-responsive to the rw

 

 

 

 

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malicious andl Ulgal acbivi ties.

na to send the di | : | vel set phot
‘ ! tit Licguess geising From thustem oe, Chi
Merk E. Walker, US. District Court - Necthen D Dist lorida, wil wih Ibe, kplan ym dcisions,

 

 

 

 

 

 

 

 

 

 

 

 

Aoril ay, a0a0 ee 0
: SIGNATURE F GRIEVANT AND D.C. #
DATE | ad at )
se ox oY
“BY SIGNATURE, INMATE AGREES TO THE FOLLOWING ROA Exrensions x tXXXXXXX
™~, . Signature
INSTRUCTIONS

This form ts used for filing a formal grievance at the Institution or facility level as well as for filing appeals to the Office of the Secretary in accordance with Rule 33-103. 006,
Florida Administrative Code. When an appeal is made to the Secretary, a copy of the initial response to the grievance must be attached (except as stated below).

When the inmate feels that he may be adversely affected by the submission of a grievance at the institutional level because of the nature of the grievance, or is entitled by
Chapter 33-103 to file a direct grievance he may address his grievance directly to the Secretary's Office. The grievance may be sealed in the envelope by the Inmate and
processed postage free through routine institutional channels. The inmate must indicate a valid reason for not initially bringing his grievance to the attention of the

institution. If the Inmate does not provide a valid reason or if the Secretary or his designated representative determines that the reason supplied is not adequate, the
grievance will be returned to the inmate for processing at the institutional level Pursuant to F.A.C. 33-103.007 (6)(d).

Receipt for Appeals Being Forwarded to Central Office

 

 

Submitted by the inmate on: Institutional Malling Log #:
(Date) (Received By)
DISTRIBUTION: INSTITUTION/FACILITY CENTRAL OFFICE
INMATE (2 Copies) INMATE
INMATE’S FILE INMATE’S FILE - INSTITUTION /F ACILITY
INSTITUTIONAL GRIEVANCE FILE CENTRAL OFFICE INMATE FILE

CENTRAL OFFICE GRIEVANCE FILE
DC1-303 (Effective 11/13) incorporated by Reference in Rule 33-103.006, F.A.C.
Case 4:19-cv-00524-MW-MAF Document 39 Filed 06/04/20 Page 10 of 13

 

 

PART B - RESPONSE

 

BROOKS, ERIC 582151 2004-282-227 . TOMOKA C.I. B1213L
NAME NUMBER = FORMAL GRIEVANCE CURRENT INMATE LOCATION HOUSING LOCATION
LOG NUMBER

 

Your Request for Administrative Remedy or Appeal was received and reviewed with the following response provided.

The discs that were returned to sender by Ms. Adams bear the tracking number 9114 9014 9645 1826 9140 46. Your
discs were returned because according to Chapter 33-210-.102(6) Inmates shall be permitted to receive only legal
documents, legal correspondence, written materials of a legal nature and self addressed stamped envelopes. No other
items may be received through legal mail. Also Chapter 33-210.102 4(b) the following items which are prohibited for
receipt in routine mail are also not permissible for inclusion attachment to legal mail.

Based on the above information, your request for administrative remedy is denied.

If you feel your grievance was not correctly resolved, you may obtain further administrative review of your complaint by
obtaining form DC 1-303, request for administrative remedy or appeal, completing the form, providing attachments as
required by paragraphs 33-103.007(3)(a) and (b), F.A.C., and forwarding your complaint to the Bureau of Policy
Management and Inmate Appeals, 501 South Calhoun Street, Tallahassee, Florida 32399-2500.

 

 

J. Haas D. Duncan
SIGNATURE AN TYE HED OR PRINTED NAME OF SIGNATURE OF WARDEN, ASST. DATE
EMPLOYEE RESPONDING ‘WARDEN, OR SECRETARY'S
REPRESENTATIVE °

‘

MAILED

APR 3 0 2020

AWP OFFICE

 
Case 4:19-cv-00524-MW- leq 06/04/20 P 1 of 13
ee 72 LRH Berd RHA GF cORREETONS RECel FIVER
V \ or REQUEST FOR ADMINISTRATIVE REMEDY OR APPEAL nA

MAY 4
(_] Third Party Grievance Alleging Sexual Abuse TE 2020
JEPdiunc: » svechOns

TO: [_] Warden [_] Assistant Warden | Secretary, Florida Departmentis eG RGIS

 

 

 

 

Appeals |
From or IF Ak. Sexual Abuse, on the behalf of:
BROOKS ERre K. 5BaAL5S1 Temoka CL

 

Last First Middle Initial DC Number Institution

Part A — Inmate Grievance 20 (o~ ( (71 “| |

This ison appeal KF formal gr evanced 204-282-227, copy attached: The issue oF this oppeali: is the illegal seizure of Z
i sec leciner tin com lianconnth Fed, RaGwv.P throw h legal mail for review inthe’ 142" action Brooks
ar, W deve a4- MWAMAF on April Al 2oR0, The documents ang astion were suppliad by Hannah Mowroe,
ravi court pursuant Fed R.Cav.P Rk 34 (BYE Yi \ Labelled Bates S#47 50, Thepareandio-y deo rea
nas of Plasntif¥ Brooks'arrestand were gs povided Vn a. rearonebly usable form” tp Brooks per R
ine thoutser, Bevoks has asked ont onl ¥ shetty dises be secarelystored (by baw ‘Tihrary: supervisor Sas Liecton ,
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Tn summary Adawbanbutllsoized the dincsfhich are clearly porenitted by Foden] Rules of civil roedurei ” direct con Fl reft
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" Maw3, A020

, DATE

*BY SIGNATURE, INMATE AGREES TO THE FOLLOWING # OF 30-DAY EXTENSIONS: % TOS.

Signature

 

 

 

 

 

INSTRUCTIONS
This form is used for filing a formal grievance at the institution or facility level as well as for fi ling appeals to the Office of the Secretary in accordance with Rule 33-103.006,
Florida Administrative Code. When an appeal is made to the Secretary, a copy of the initial response to the grievance must be attached (except as stated below).

When the inmate feels that he may be adversely affected by the submission of a grievance at the institutional level because of the nature of the grievance, or is entitled by
Chapter 33-103 to file a direct grievance he may address his grievance directly to the Secretary's Office. The grievance may be sealed in the envelope by the inmate and
processed postage free through routine institutional channels. The inmate must indicate a valid reason for not initially bringing his grievance to the attention of the
institution. If the inmate does not provide a valid reason or if the Secretary or his designated representative determines that the reason supplied is not adequate, the
grievance will be returned to the inmate for processing at the institutional level pursuant to F.A.C. 33-103.007 (6)(d).

Receipt for Appeals Being Forwarded to Central Office
f
Submitted by the inmate on: yO 5 ao Institutional Mailing Log #: ‘ AY,
(Date) :

/ ( ReceivetBy)

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DISTRIBUTION: INSTITUTION/FACILITY CENTRAL OFFICE a8d
INMATE (2 Copies) INMATE _
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INSTITUTIONAL GRIEVANCE FILE CENTRAL OFFICE INMATE FILE

CENTRAL OFFICE GRIEVANCE FILE
DC1-303 (Effective 11/13) Incorporated by Reference in Rule 33-103.006, F.A.C.
 

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WITHAGERCY CLERK ! /04/ age 120

 

 

MAY 22 2020
oe of PART B - RESPONSE
partment of Corrections
Bureau of inmate Grievance Appeals '
BROOKS, ERIC 582151 20-6-16771 TOMOKA C.l. B1213L
NAME NUMBER GRIEVANCE LOG CURRENT INMATE LOCATION HOWSINGOCATION

NUMBER

 

Your administrative appeal has been received, evaluated and referred to Library Services, who provided the following
information: ‘

The response that you received at the institutional level has been reviewed and is found to appropriately address the
concerns that you raised at the institutional level as well as the Central Office level.

Your administrative appeal is denied.

 

 

 

1A. MCMANUS
Ce Ht. S-21-2o0
SIGNATURE AND TYPED OR PRINTED NAME OF SIGNATURE OF WARDEN, ASST. DATE
EMPLOYEE RESPONDING WARDEN, OR SECRETARY'S

REPRESENTATIVE
Case 4:19-c

00524 Na Weg, Doeyment 39 Filed 06/04/20 Page 13 of 13
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